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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                 )
                                          )
                  Plaintiff/Respondent,   )
                                          )                 Case No. 11-40044-01-JAR
v.                                        )                 Case No. 15-4908-JAR
                                          )
DEMETRIO QUESADA,                         )
                                          )
                  Defendant/Petitioner.   )
__________________________________________)

                               MEMORANDUM AND ORDER

       This matter is before the Court on Petitioner Demetrio Quesada’s Motion under 28

U.S.C. § 2255 to Vacate, Set Aside or Correct Sentence by a Person in Federal Custody (Doc.

877). In his motion, Petitioner seeks relief on grounds that he was denied effective assistance of

counsel with respect to his request to file a notice of appeal. The Government has responded

(Doc. 879). The Court ordered the parties to expand the factual record on Petitioner’s claim that

he requested his counsel to file a notice of appeal (Doc. 882). The Government filed a Notice of

Supplement to Record (Doc. 885). Petitioner has not moved to supplement or expand the record

or otherwise responded to the Court’s order. Having carefully reviewed the record and the

arguments presented, the Court denies Petitioner’s motion without further evidentiary hearing.

I.     Standards

       A.      General

       Under 28 U.S.C. § 2255(a):

               A prisoner in custody under sentence of a court established by Act
               of Congress claiming the right to be released upon the ground that
               the sentence was imposed in violation of the Constitution or laws
               of the United States, or that the court was without jurisdiction to
               impose such sentence, or that the sentence was in excess of the
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                  maximum authorized by law, or is otherwise subject to collateral
                  attack, may move the court which imposed the sentence to vacate,
                  set aside or correct the sentence.1

An evidentiary hearing must be held on a § 2255 motion “unless the motion and files and records

of the case conclusively show that the prisoner is entitled to no relief.”2 Petitioner must allege

facts which, if proven, would warrant relief from his conviction or sentence.3 An evidentiary

hearing is not necessary where the factual allegations in a § 2255 motion are contradicted by the

record, inherently incredible, or when they are conclusions rather than statements of fact.4

         A district court may grant relief under § 2255 if it determines “that the judgment was

rendered without jurisdiction, or that the sentence imposed was not authorized by law or

otherwise open to collateral attack, or that there has been such a denial or infringement of the

constitutional rights of the prisoner as to render the judgment vulnerable to collateral attack.”5

“Review under § 2255 is not an alternative to appellate review for claims that could have been

presented on direct appeal but were not.”6 A movant may overcome this procedural bar by

showing either of “two well recognized exceptions.”7 First, the movant must show good cause

for not raising the issue earlier and actual prejudice to the movant’s defense if the issue is not


         1
          28 U.S.C. § 2255(a).
         2
          28 U.S.C. § 2255(b).
         3
          See Hatch v. Oklahoma, 58 F.3d 1447, 1471 (10th Cir. 1995), cert. denied, 517 U.S. 1235 (1996).
         4
          Arredondo v. United States, 178 F.3d 778, 782 (6th Cir. 1999) (quoting Engelen v. United States, 68 F.3d
238, 240 (8th Cir. 1995)); see also Hatch, 58 F.3d at 1471 (“[t]he allegations must be specific and particularized, not
general or conclusory”); United States v. Fisher, 38 F.3d 1143, 1147 (10th Cir. 1994) (rejecting ineffective
assistance of counsel claims which are merely conclusory in nature and without supporting factual averments).
         5
          28 U.S.C. § 2255.
         6
          United States v. Magleby, 420 F.3d 1136, 1139 (10th Cir. 2005), cert. denied, 547 U.S. 1097 (2006).
         7
          United States v. Cervini, 379 F.3d 987, 990 (10th Cir. 2004), cert. denied, 544 U.S. 904 (2005).

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considered.8 Cause may “be established by showing that counsel rendered constitutionally

ineffective assistance.”9 Second, the “failure to consider the federal claims will result in a

fundamental miscarriage of justice.”10

B.      Ineffective Assistance of Counsel

        The Sixth Amendment guarantees that “[i]n all criminal prosecutions, the accused shall

enjoy the right . . . to have the Assistance of Counsel for his defence.”11 A successful claim of

ineffective assistance of counsel must meet the two-pronged test set forth in Strickland v.

Washington.12 First, a defendant must show that his counsel’s performance was deficient in that

it “fell below an objective standard of reasonableness.”13 To meet this first prong, a defendant

must demonstrate that the omissions of his counsel fell “outside the wide range of professionally

competent assistance.”14 This standard is “highly demanding.”15 Strategic or tactical decisions

on the part of counsel are presumed correct, unless they were “completely unreasonable, not

merely wrong, so that [they] bear no relationship to a possible defense strategy.”16 In all events,


        8
         Id.
        9
         United States v. Wiseman, 297 F.3d 975, 979 (10th Cir. 2002) (citations omitted).
        10
          Cervini, 379 F.3d at 990 (quoting Coleman v. Thompson, 501 U.S. 722, 750 (1991)); see Bousley v.
United States, 523 U.S. 614, 621–22 (1998) (holding that a showing of actual innocence meets the fundamental
miscarriage of justice prong).
        11
            U.S. Const. amend. VI; see Kansas v. Ventris, 556 U.S. 586 (2009).
        12
            466 U.S. 668 (1984).
        13
            Id. at 688.
        14
            Id. at 690.
        15
            Kimmelman v. Morrison, 477 U.S. 365, 382 (1986).
        16
            Fox v.Ward, 200 F.3d 1286, 1296 (10th Cir. 2000) (quotation and citations omitted).

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judicial scrutiny of the adequacy of attorney performance must be strongly deferential: “[A]

court must indulge a strong presumption that counsel’s conduct falls within the wide range of

reasonable professional assistance.”17 Moreover, the reasonableness of the challenged conduct

must be evaluated from counsel’s perspective at the time of the alleged error; “every effort

should be made to ‘eliminate the distorting effects of hindsight.’”18

       Second, a defendant must also show that his counsel’s deficient performance actually

prejudiced his defense.19 To prevail on this prong, a defendant “must show there is a reasonable

probability that, but for his counsel’s unprofessional errors, the result of the proceeding would

have been different.”20 A “reasonable probability” is a “probability sufficient to undermine

confidence in the outcome.”21 This, in turn, requires the court to focus on “the question whether

counsel’s deficient performance render[ed] the result of the trial unreliable or the proceeding

fundamentally unfair.”22

       A defendant must demonstrate both Strickland prongs to establish a claim of ineffective

assistance of counsel, and a failure to prove either one is dispositive.23 “The performance

component need not be addressed first. ‘If it is easier to dispose of an ineffectiveness claim on




       17
         Strickland, 466 U.S. at 689.
       18
         Edens v. Hannigan, 87 F.3d 1109, 1114 (10th Cir. 1996) (quoting Strickland, 466 U.S. at 689).
       19
         Strickland, 466 U.S. at 687.
       20
         Id. at 694.
       21
         Id.
       22
         Lockhart v. Fretwell, 506 U.S. 364, 372 (1993).
       23
         Smith v. Robbins, 528 U.S. 259, 286 n.14 (2000).

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the ground of lack of sufficient prejudice . . . that course should be followed.’”24

II.      Factual and Procedural Background

         On March 29, 2013, Petitioner entered a guilty plea to Count 1 of a Superseding

Indictment, charging a violation of 21 U.S.C. § 846, conspiracy to distribute more than 500

grams or more of a mixture and substance containing a detectable amount of

methamphetamine.25 Petitioner entered his plea after reaching a plea agreement with the

Government under Fed. R. Crim. P. 11(c)(1)(C).26 He was represented by Robert W. Lyons and

Jerold E. Berger. In exchange for Petitioner’s plea to Count 1, the parties proposed that

Petitioner receive a sentence of 240 months’ custody on Count 1 pursuant to Rule 11(c)(1)(C).27

         On July 7, 2014, this Court sentenced Petitioner to 216 months’ custody.28 The Court

imposed this sentence after the Government recommended that Petitioner receive a reduction

beyond the 240-month term proposed in the plea agreement under U.S.S.G. § 5K1.1.29 Petitioner

did not file a notice of appeal, and this timely § 2255 motion followed.

III.     Discussion

         Petitioner claims that his attorneys disregarded his request to file a notice of appeal so



         24
         Id. (quoting Strickland, 466 U.S. at 697); see also Romano v. Gibson, 239 F.3d 1156, 1181 (10th Cir.
2001) (“This court can affirm the denial of habeas relief on whichever Strickland prong is the easier to resolve.”).
         25
           Doc. 590.
         26
           Id.
         27
           Id. at 44, ¶ 3.
         28
           Doc. 825.
         29
           Docs. 804, 817.

                                                           5
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that he could appeal his sentence. Petitioner, who required an interpreter, alleges that “as soon

as the Court pronounced sentence,” he “told Counsel that he wanted to pursue an appeal by

stating, ‘I want an appeal.’” Petitioner claims that counsel replied, “okay,” but did not file the

notice of appeal. The Government responds that Petitioner’s unsworn allegation, unsupported by

detailed facts, is insufficient.

        As previously discussed, a particularized claim that counsel failed to file a notice of

appeal despite a timely request is generally sufficient to warrant relief.30 “[A] lawyer who

disregards specific instructions to perfect a criminal appeal acts in a manner that is both

professionally unreasonable and presumptively prejudicial.”31 “But this does not imply that a

habeas petitioner is automatically entitled to an evidentiary hearing merely because he makes an

allegation that his attorney refused to file an appeal.”32 The primary issue before the Court is

whether an evidentiary hearing is needed on this claim. Here, Petitioner does not expand the

record to provide details surrounding his request, such as which of his two counsel present he

asked, whether the interpreter relayed his request, whether he called or contacted counsel after

the hearing or upon receiving the Judgment, or the specifics of any conversation they had about

filing an appeal. By contrast, the Government has provided affidavits authored by both of

Petitioner’s attorneys, Mr. Berger and Mr. Lyons, who state under oath that Petitioner did not

ask either of them in court to file a notice of appeal, after the plea or at the sentencing hearing.33


        30
          United States v. Jasso Chavero, 630 F. App’x 866, 868 (10th Cir. 2015) (citing United States v. Snitz, 342
F.3d 1154, 1155–56 (10th Cir. 2003)).
        31
          Snitz, 342 F.3d at 1155–56.
        32
          United States v. Harrison, 375 F. App’x 830, 833 (10th cir. 2010).
        33
          Doc. 879, Ex. A; Doc. 885, Ex. 2.

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The Government also provides the affidavit of Rosario Garriga, who served as an interpreter at

Petitioner’s sentencing hearing; Ms. Garriga avers that she has no specific recollection of the

hearing.34

         To warrant an evidentiary hearing, a petitioner must present detailed and specific facts to

back up his allegation, instead of “vague, conclusory, or palpably incredible” allegations.35

Based on the expanded record before it, the Court concludes that an evidentiary hearing is not

needed. Petitioner’s conclusory allegations are without supporting factual averments, and are

contradicted by the record. Accordingly, Petitioner’s claim of ineffective assistance of counsel

is denied.36

IV.      Certificate of Appealability

         Rule 11 of the Rules Governing § 2255 Proceedings requires the Court to grant or deny a

certificate of appealability (“COA”) when making a ruling adverse to the petitioner. “A

certificate of appealability may issue . . . only if the applicant has made a substantial showing of




         34
           Doc. 885, Ex. 1.
         35
           United States v. Harrison, 375 F. App’x 830, 833 (10th Cir. 2010).
         36
            Even if counsel failed to heed Petitioner’s request, however, such alleged failure did not prejudice
Petitioner under Strickland’s second prong. Because Petitioner entered his plea pursuant to Fed. R. Crim. P.
11(c)(1)(C) and received a sentence below the sentence he bargained for in his plea agreement, the Tenth Circuit
Court of appeals did not have jurisdiction to adjudicate any claim that he received a substantively unreasonable
sentence. See 18 U.S.C. § 3742(a) and (c); United States v. Calderon, 428 F.3d 928, 932 (10th Cir. 2005) (stating, in
the Rule 11(c)(1)(C) plea context: “Where a defendant agrees to and receives a specific sentence, he may appeal the
sentence only if it was (1) imposed in violation of the law, (2) imposed as a result of an incorrect application of the
Guidelines, or (3) is greater than the sentence set forth in the plea agreement. Otherwise, the Court lacks jurisdiction
over the appeal.”) (internal citation omitted); United States v. Armendariz-Reza, 502 F. App’x 810, 812–13 (10th
Cir. 2012) (finding court of appeals lacked jurisdiction to consider defendant’s challenge to the procedural and
substantive reasonableness of his sentence, because defendant received sentence he bargained for in Rule
11(c)(1)(C) plea agreement).

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the denial of a constitutional right.”37 A petitioner may satisfy his burden only if “reasonable

jurists would find the district court’s assessment of the constitutional claims debatable or

wrong.”38 A petitioner is not required to demonstrate that his appeal will succeed to be entitled

to a COA. He must, however, “prove something more than the absence of frivolity or the

existence of mere good faith.”39 “This threshold inquiry does not require full consideration of

the factual or legal bases adduced in support of the claims. In fact, the statute forbids it.”40 For

the reasons detailed in the Court’s Memorandum and Orders, Petitioner has not made a

substantial showing of the denial of a constitutional right, and the Court denies a COA as to its

ruling denying his § 2255 motion without a hearing.

           IT IS THEREFORE ORDERED BY THE COURT that Petitioner Demetrio

Quesada’s Motion Under § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in

Federal Custody (Doc. 877) is DENIED without a hearing; Petitioner is also denied a COA.

           IT IS SO ORDERED.

Dated: December 5, 2016
                                                                   S/ Julie A. Robinson
                                                                  JULIE A. ROBINSON
                                                                  UNITED STATES DISTRICT JUDGE




           37
            28 U.S.C. § 2253(c)(2). The denial of a § 2255 motion is not appealable unless a circuit justice or a
circuit or district judge issues a certificate of appealability. See Fed. R. App. P. 22(b)(1); 28 U.S.C. § 2253(c)(1).
           38
             Saiz v. Ortiz, 393 F.3d 1166, 1171 n.3 (10th Cir. 2004) (quoting Tennard v. Dretke, 524 U.S. 274, 282
(2004)).
           39
             Miller-El v. Cockrell, 537 U.S. 322, 338 (2003).
           40
             Id. at 336; see also United States v. Silva, 430 F.3d 1096, 1100 (10th Cir. 2005).

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